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Appendix A

From:

Cc: :

Subject: Meta Materials Inc. (MMAT and MMTLP) / Next. _
Date: Friday, December 2, 2022 10:46:34 AM

Attachments: §  image0Ol.ong

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attachments unless you recognize the sender and know the content is safe. :

- {I believe you’ve had conversations with FINRA’s OTC Corporate
Actions team tacandicg he abo 2 issuer and its proposed spin-off transaction. Would one of you
have time on Monday or Tuesday to discuss this matter? FINRA’s Market Fraud Investigations team
recently received several tips that appear to have also been sent to the SEC. Below are some
proposed times to discuss but we can work around your schedules if these don’t work for you.

Thanks.

Monday — between 11:30 ET and 2:30 ET or between 4:30 ET and 5:30 ET
Tuesday — between 4:30 ET and 5:30 ET

Rich Boyle
National Cause and Financial Crimes Detection Programs | 15200 Omega Drive, Suite 210 | Rockville, MD 20850

Phone: (240) 386-5008 | richard. bovie@fiora.org | www finra.ore

FING a.

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From: Draddy, Sam <Sam.Draddy@finra.org>
Sent: Monday, M

Richard <Richard.Boyle@finra.org>; Gi
Subject: RE: Inquiry

looks like this MMAT/MMITLP matter has now hit my Fraud team’s radar screen (and
seemingly a lot of other radar screens as well). | know you have spoken to Patti Casimates and our
General Counsel's office—but was wondering if it made sense for my Fraud team to have a
conversation directly with you and your folks working on the matter so we are not duplicating
efforts. We are looking at the two issuers from a fraud/manipulation angle and, in fact, bluesheeting
both MMAT and MMTLP as we speak.

if you think a comparison of notes is worth a quick call—let me know a good day/time. | can set up a
zoom and feel free to let me know if r anyone else should be included.

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From: Draddy, Sam <Sam Draddv@finra.org>
Sent: Monday, November 23, 2021 5:03 PM

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From: Draddy, Sam <Sam.Draddy@finra.org>
Sent: Monday, December 5, 2022 9:29 AM

